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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
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 FRANK MCCARRON,                                                     STIPULATION AND ORDER OF
                                                                     DISMISSAL WITH PREJUDICE
                                    Plaintiff,
                                                                     Civil Action No.
                  v.                                                 18-CV-1903

 UNITED STATES OF AMERICA; HERMAN                                    (Vitaliano, J.)
 QUAY III, Warden, Metropolitan Detention Center,                    (Reyes, M.J.)
 Brooklyn; DEBORAH SCHULT, Assistant Director,
 Health Services Division, Federal Bureau of Prisons;
 IAN CONNERS, Administrator, National Inmate
 Appeals, Federal Bureau of Prisons; MICHAEL
 BORECKY, Acting Clinical Director of the Medical
 Center, Metropolitan Detention Center, Brooklyn;
 RAME AWD, Doctor, Metropolitan Detention
 Center; BRUCE BIALOR, Doctor, Metropolitan
 Detention Center, Brooklyn; KEVIN PIGOS, Doctor,
 Metropolitan Detention Center, Brooklyn; CLODINA
 BABSON, Nurse, Metropolitan Detention Center,
 Brooklyn; TROY BRADWISCH, Nurse,
 Metropolitan Detention Center, Brooklyn; BRIAN
 GERSON, Nurse, Metropolitan Detention Center
 Brooklyn,

                                    Defendants.

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         IT IS HEREBY STIPULATED AND AGREED, by and between the parties to the above-

 captioned action, plaintiff FRANK MCCARRON and defendants UNITED STATES OF

 AMERICA, HERMAN QUAY III, DEBORAH SCHULT, IAN CONNORS, MICHAEL

 BORECKY, BRUCE BIALOR, KEVIN PIGOS, CLODINA BABSON, TROY BRADWISCH

 and BRIAN GERSON, by and through their undersigned attorneys, that plaintiff’s complaint

 against defendants and all claims therein be and hereby are dismissed, with prejudice, pursuant to

 Fed. R. Civ. P. 41(a)(1)(A)(ii), without costs or fees to any party as against any other. No further
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                                                 McCarron v. United States, et al., 18-CV-1903 (ENV)(RER)
                                                       Stipulation and Order of Dismissal With Prejudice
                                                                                                    Page 2

 suit may be instituted for the same causes of action which have been asserted herein, or for any

 other causes of action arising out of the incidents or circumstances that gave rise to this action; and

         IT IS FURTHER STIPULATED AND AGREED that this Stipulation and Order may be

 executed in separate counterparts and by facsimile signature, each of which shall be deemed to be

 an original.

         Once this Stipulation and Order has been signed and so ordered by the Court, the Clerk of

 the Court shall enter judgment in this case dismissing the action with prejudice and shall close the

 case.

 Dated: New York, New York                      CARDOZO CIVIL RIGHTS CLINIC
        September 11, 2019                      Attorneys for Plaintiff
                                                Benjamin N. Cardozo School of Law
                                                55 5th Avenue, 11th Floor
                                                New York, New York 10003

                                        By:     __/s/ Betsy Ginsberg__
                                                Betsy Ginsberg, Esq.
                                                (212) 790-0871

 Dated: Brooklyn, New York                      RICHARD P. DONOGHUE
        September 11, 2019                      United States Attorney
                                                Attorney for Defendants
                                                Eastern District of New York
                                                271 Cadman Plaza East
                                                Brooklyn, New York 11201

                                        By:     __/s/ Matthew J. Modafferi__
                                                Matthew J. Modafferi
                                                Assistant U.S. Attorney
                                                (718) 254-6229

 SO ORDERED this
 ____ day of _________, 2019


                              __
 HONORABLE ERIC N. VITALIANO
 United States District Judge
